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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT O F FLORIDA

                           CaseNo.IS 7M O -C-
                                            R rDIM JTROVLEA S

  UNITED STATES O F AM ERICA

  V S.

  OSCAR DAVID PULGARIN-GANAN,
      a/lda SçNiio ''
      a/k/a Gc oroso,''

                D efendant.
                                                           /


                                     PLEA AGREEM ENT
         The United States of America and OSCAR DAVID PULGARIN-G ANAN. a/k/a

  idNiho'' a/k/a Sicoroso,''(hereinafterreferred to asthe ''defendant'')enter into the following

  agreernent'
            .
                 Thedefendantagreestoplead guiltyto theIndictm ent,whichchargesthedefendant

   with conspiracy distribute more than tive (5) kilograms ofcocaine,knowing that itwas be
   unlawfully im ported into theUnited States,in violation Title21,United StatesCode,Section 963.

                 The defendant is aware that the sentence will be im posed by the court after

   considering the FederalSentencing Guidelines and Policy Statements(hereinafterdisentencing
   Guidelinesn). The defendantacknowledges and understands thatthe courtwillcompute an
   advisory sentence under the Sentencing Guidelines and that the applicable guidelines willbe

   determ ined by thecourtrelyingin parton theresultsofaPre-sentenceInvestigation bythecourt's

   probation office,which investigation willcomm ence aherthe guilty pleahasbeen entered. The

    defendantisalsoawarethat,undercertain circum stances,thecourtmay departfrom the advisory

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  sentencing guidtline rangethatithas computed,and m ay raise orlowerthatadvisory sentence

  undertheSentencing Guidelines. Thedefendantisfurtheraware and understandsthatthecourtis

  required to considertheadvisory guidelinerangedetenmined underthe SentencingGuidelines,but

  isnotbound to imposethatsentence;thecourtispennittedtotailortheultim atesentenceinlightof

  other statutory concerns,and such sentence may be either more severe orless severe than the

  Sentencing Guidelines'advisory sentence. Knowing these facts,the defendantunderstandsand
  acknowledgesthatthecourthastheauthorityto imposeany sentencewithin and uptothestatutory

  maxim um authorized by law forthe offense identified in paragraph 1and thatthedefendantm ay

  notwithdraw theplea solely asaresultofthe sentenceimposed.
                The defendantalso understands and acknowledges thatthe courtm ustimpose a

  minimum mandatoryterm ofimprisonmentoften(10)yearsandmay imposeuptothestatutory
  m axim um term oflife im prisonment. Additionally,any term ofim prisonm entwillbefollowed

  by aterm ofsupervised releaseofatleastfive(5)yearsandup to life. In addition to aterm of
  im prisomnentand supervised release,thecourtmay imposeafine ofup to $10,000,000.
                The defendant further understands and acknowledges that, in addition to any

  sentenceimposedunderparagraph 3 ofthisagreement,a specialassessmentin theam ountof$l00
  willbe imposed on the defendant. The defendantagrees thatany specialassessm entim posed

   shallbepaid atthetim eofsentencing.
                The Office ofthe United States Attorney for the Southem District of Florida

   (hereinaftertioffice'')reservestherightto inform thecourtandtheprobation officeofallfacts
   pertinentto the sentencing process,including allrelevantinform ation concem ing the oftknses

   comm itted,whether charged or not,as well as concerning the defendant and the defendant's


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  background. Subjectonlytotheexpresstermsofany agreed-uponsentencingrecommendations
  contained inthisagreement,thisOfficefurtherreservestherightto m ake any recomm endation as

  to thequality and quantity ofpunishment.
         6.    TheUnited Statesagreesthatitwillrecom mend atsentencing thatthecourtreduce

  by two levels the sentencing guideline levelapplicable to the defendant's offense,pursuantto

  Section 3E1.1(a) of the Sentencing Guidelines,based upon the defendant's recognition and
  aftsrmative and timely acceptance of personalresponsibility.lf at the time of sentencing the

  defendant'soffense levelis determ ined to be 16 orgreater,the govenunentwillmake a motion

  requesting an additionalone leveldecrease pursuantto Sedion 3E 1.1(b)ofthe Sentencing
  Guidelines,stating thatthedefendanthasassisted authoritiesin theinvestigation orprosecution of

  his own m isconduct by tim ely notifying authorities of his intention to enter a plea of guilty,

  thereby pennitting thegovem m entto avoid preparing fortrialand perm itting the governmentand

  the courtto allocate theirresources efficiently. The United Statesfurtheragreesto recomm end

  thatthedefendantbesentenced atthe1ow end oftheguidelinerange,asthatrangeiseontem plated

  by the Parties. The United States,however,willnotbe required to make this motion and this

  recommendation ifthe defendant:(1) fails or refusesto make a full,accurate and complete
   disclosureto the probation oftsce ofthecircum stancessurrounding the relevantoffense conduct;

   (2)is found to have misrepresented facts to the govemmentprior to entering into this plea
   agreement;or(3)commitsanymisconductafterenteringintothispleaagreement,includingbut
   notlim ited to com mitting astateorfederaloffense,violatingany term ofrelease,orm aking false

   statementsorm isrepresentationsto any governm entalentity orofficial.
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               ThedefendantagreesthatheshallcooperatefullywiththisOffieeby:(a)providing
  truthfuland eomplete inform ation and testimony,and producing documents,records and other

  evidence,when called upon bythisOffice,whetherin interviews,before agrandjury,oratany
  trialorotherCourtproceeding;(b)appearingatsuch grandjuryproceedings,hearings,trials,and
  otherjudicialproceedings,and atmeetings,as may be required by this Office;and (c) if
  requested by this Office,working in an undercover role under the supervision otl and in
  com pliance with,law enforcementofficersand agents. ln addition,the defendantagreesthathe
                                                                                     *
  willnotprotectanyperson orentity through t.salseinform ation oromission,thathewillnotfalsely

  implicateany person orentitysand thathethathewillnotcomm itany furthercrim es.

         8.     ThisOfficereservesthe rightto evaluate the nature and extentofthe defendant's

  cooperation and to make thatcooperation,orlack thereof,known to the Courtatthe tim e of

  sentencing. lfinthesoleandunreviewablejudgmentofthisOfficethedefendant'scooperationis
  ofsuch quality and significanceto the investigation orprosecution ofothercrim inalmattersasto

  warranttheCourt'sdownward departurefrom the advisory sentencing range calculated underthe

   SentencingGuidelinesand/orany applicablem inimum m andatory sentence,thisOfficemay m ake

   amotion priorto sentencing pursuantto Section 5K 1.1ofthe Sentencing Guidelinesand/orTitle

   18,United StatesCode,Section35534$,orsubsequentto sentencing pursuanttoRule35ofthe
   Federal Rules of Criminal Procedure, informing the Court that the defendant has provided

   substantial assistance and recom mending that the defkndant's sentence be reduced. The

   defendantunderstandsand agrees,however,thatnothing in thisagreementrequiresthisOffice to

   file any such motions,and thatthis Ofûce's assessm entofthe quality and signitscance ofthe




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  defendant'scooperation shallbebindingasitrelatestotheappropriatenessofthisOffice'sfilingor

  non-fsling ofamotion to reducesentence.
        9,      Thedefendantunderstandsand acknowledgesthatthe Courtisunderno obligation

  to grantam otion forreduction ofsentence tiled by the govem ment. In addition,the defendant

  furtherunderstandsand acknowledgesthattheCourtisunderno obligation ofany typeto reduce

  the defendant'ssentencebecauseofthedefendant'scooperation.
         10.    The United States and the defendant agree that,although not binding on the

  probation office orthe court,they willjointly recommend thatthe courtmake the following
  fndingsand conclusionsastothesentencetobeimposed:

                a.    A m ountofnarcotics: Thatthequantity ofcocaineinvolved in theoffense,

  forpurposeofsection2D1.1(a)and(c)oftheSentencingGuidelines,ismorethan450kilograms.
         11.    TheUnited Statesand the defendantagree thatthe defendantisnoteligibleforthe

  safety-valveprovision pursuantto Section 5C1.2 ofthe Sentencing Guidelines.

                The defendantis aware and acknowledges,withoutconceding the enhancem ent,

  theUnited Statesreservestherightto argueatthetimeofsentencing foratwo-levelincreaseasan
  organizer, leader m anager, and/or supervisor, pursuant to Section 3B1.1 of the Sentencing

  Guidelines.
                 The defendantisawarethatTitle 18,United StatesCodesSection 3742 and Title

   28,UnitedStatesCode,Sedion 1291afford thedefendanttherighttoappealthesentenceimposed

   in thiscase. Acknowledgingthis,in exchangefortheundertakingsmadeby theUnited Statesin

   thispleaagreem ent,thedefendanthereby waivesa11rightsconferred by Sections3742 and l291to

   appealany sentence imposed,including any restitutionorder,ortoappealthem annerin which the


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  sentencewasimposed,unlessthe sentence exceedsthe m axim um perm itted by statute oristhe

  resultofanupwarddepartureand/oran upwardvariancefrom theadvisoryguidelinerangethatthe

  Courtestablishesatsentencing. Thedefendantfurtherunderstandsthatnothing in thisagreem ent

  shallaffectthe govermnent'srightand/orduty to appealas setforth in Title 18,United States

  Code,Section 37424t9 and Title28,United StatesCode,Section 1291. However,iftheUnited
  Statesappealsthedefendant'ssentencepursuantto Sections37424b)and 1291,thedefkndantshall
  bereleased from the abovewaiverofappellate rights. By signing this agreem ent,thedefendant

  acknowledgesthatthedefendanthasdiscussed the appealwaiversetforth in thisagreem entwith

  thedefendant'sattom ey.
         14.   Thedefendantisawarethatthesentencehasnotyetbeen determined bythecourt.

  The defendantalso isaware thatany estimate of the probable sentencing range or sentence
  thatthe defendantm ay receive,whetherthatestim ate comes from the defendant'sattorney,the

  govem ment,or the probation offce,is a prediction,not a prom ise,and is notbinding on the

  government, the probation oftsce or the court.The defendant understands further that any

  recom mendation thatthegovernmentmakestothecourtasto sentencing,whetherpursuantto this

  agreement or otherwise, is not binding on the court and the court m ay disregard the

   recomm endation in its entirety. The defendant understands and acknowledges,as previously

   acknowledged in paragraph 3 above,thatthe defendantmay notwithdraw hispleabased uponthe

   court's decision not to accept a sentencing recom mendation made by the defendant, the

   government,orarecommendationmadejointlybyboth thedefendantandthegovenunent.




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                   This is the entire agreem ent and understanding between this Oftice and the

                 There areno otheragreements,prom ises,representations,orunderstandings.
  defendant.

                                              W IFRED O A .FERRER
                                              UNITED STATES ATTORNEY


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